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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS

JOHN HANCOCK LIFE INSURANCE                           )
COMPANY (U.S.A.) f/k/a John Hancock                   )
Life Insurance Company                                )
                                                      )
                               Plaintiff,             )
                                                      )
        v.                                            )       Case No. 4:18-CV-02869
                                                      )
THE ESTATE OF JENNIFER LAUREN                         )
WHEATLEY, et al.                                      )
                                                      )
                               Defendants.            )

        ORDER DENYING THE ESTATE OF JENNIFER LAUREN WHEATLEY’S
                MOTION AND MEMORANDUM IN SUPPORT OF
                   DETERMINATION OF CHOICE OF LAW

        CAME ON FOR CONSIDERATION in the above-styled and numbered case (the

“Litigation”) Defendants the Estate of Jennifer Lauren Wheatley and Louis Anthony Wheatley

Administrator of the Estate of Jennifer Lauren Wheatley, Deceased’s (collectively, the “Estate”)

Motion and Memorandum in Support of Determination of Choice of Law (the “Motion”) (ECF

115).

        The Court, having considered the Motion; and Plaintiff John Hancock Life Insurance

Company (U.S.A.) f/k/a John Hancock Life Insurance Company (“John Hancock”) partial

opposition, any response or reply briefs, exhibits, and attachments; the record in the Litigation,

other pertinent documents, and any pertinent statutory or case law, rules, regulations, or other

materials, finds that the Motion has no merit. It is, therefore, ordered that:




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ORDER GRANTING IN PART AND DENYING IN PART JOHN HANCOCK’S MOTION
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       Defendants the Estate of Jennifer Lauren Wheatley and Louis Anthony Wheatley

Administrator of the Estate of Jennifer Lauren Wheatley, Deceased’s (collectively, the “Estate”)

Motion and Memorandum in Support of Determination of Choice of Law is GRANTED in part

and DENIED in part. The Court finds that Texas law should apply to the Estate’s breach of

contract and negligence claims. The Court further finds that request to apply Massachusetts law

to its consumer protection claims is premature.


       SO ORDERED this ___ day of __________________ 2020.




                                                    UNITED STATES DISTRICT JUDGE




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ORDER GRANTING IN PART AND DENYING IN PART JOHN HANCOCK’S MOTION
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